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                        Exhibit 21
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                                        Ballots Not Counted


Votes Not
Counted     Reason for Exclusion

   11,986   Superseded by a later ballot


      181   No vote indicated: Ballot was not marked with a vote to accept the Plan or to reject the Plan


    1,425   Inconsistent votes: Multiple Master Ballots submitted for a single holder with conflicting votes


       38   No Signature: Ballot was not signed

            Ballot was missing the last four digits of the claimant's Social Security Number or the claimant's
      222
            date of birth

       27   Invalid: Ballots were not submitted on approved forms or in accordance with instructions

            Duplicate: Vote is duplicative of another vote cast and counted on a Master Ballot or Direct
    2,295
            Ballot
